              Case 2:17-cv-03242-DJH Document 80 Filed 03/20/18 Page 1 of 2




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 5   Attorney for Plaintiff
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 6

 7                            IN THE UNITED STATES DISTRICT COURT
 8                                      DISTRICT OF ARIZONA
 9

10   KATHLEEN ARTHUR,                                 Case No.: CV-17-03242-PHX-DJH
11
                      Plaintiff,                      NOTICE OF SETTLEMENT AS TO
12           vs.                                      DEFENDANT EXPERIAN
                                                      INFORMATON SOLUTIONS, INC.
13   KEY BANK USA, N.A.; MACY’S,                      ONLY
14   INC.; DEPARTMENT STORES
     NATIONAL BANK; VERIZON
15   WIRELESS (VAW), LLC;
16   EXPERIAN INFORMATION
     SOLUTIONS, INC.; EQUIFAX
17   INFORMATION SERVICES LLC;
18
     TRANSUNION, LLC,

19                 Defendants.
20
            NOTICE IS HEREBY GIVEN that Kathleen Arthur (“Plaintiff”) and Experian
21
     Information Solutions, Inc., (“Defendant”) have settled all claims between them in this matter.
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23   The parties are in the process of completing the final settlement documents and expect to file a
24   Stipulated Dismissal with Prejudice within the next forty-five (45) days. The Plaintiff requests the
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     Court vacate all deadlines in this matter, as to Experian Information Solutions, Inc. only.
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                                           NOTICE OF SETTLEMENT
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              Case 2:17-cv-03242-DJH Document 80 Filed 03/20/18 Page 2 of 2




            The Plaintiff further requests that the Court retain jurisdiction for any matters related to
 1

 2   completing and/or enforcing the settlement.
 3          RESPECTFULLY SUBMITTED,
 4
            Dated: March 20, 2018                     PRICE LAW GROUP, APC
 5
                                                      By: /s/ David A. Chami
 6
                                                      David A. Chami, Esq. AZ #027585
 7                                                    david@pricelawgroup.com
                                                      Attorney for Plaintiff
 8                                                    Kathleen Arthur
 9

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12
                                         CERTIFICATE OF SERVICE
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14
     I hereby certify that on March 20, 2018, I electronically filed the foregoing with the Clerk of the
15
     Court using the ECF system, which will send notice of such filing to all attorneys of record in
16

17   this matter. Since none of the attorneys of record are non-ECF participants, hard copies of the

18   foregoing have not been provided via personal delivery or by postal mail.
19

20
     /s/Elizabeth Nanez
21   Paralegal for David A. Chami, Esq.
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                                           NOTICE OF SETTLEMENT
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